
66 A.D.2d 800 (1978)
In the Matter of Barbara R. Commissioner of Social Services of the City of New York, Respondent; Dieann R., Appellant
Appellate Division of the Supreme Court of the State of New York, Second Department.
December 11, 1978
Mollen, P. J., Martuscello, Cohalan, and O'Connor, JJ., concur.
Order reversed, on the law, without costs or disbursements, and proceeding remanded to the Family Court for a new hearing to be held before a Judge of the Family Court other than the one who previously presided.
Appellant was not permitted to present evidence on her own behalf at the hearing. Appellant was further denied the opportunity to cross-examine an official of one of the supportive services of the court who testified at the hearing. A hearing, in order to accord with due process principles, includes the right to testify and offer evidence (Matter of Hecht v Monaghan, 307 N.Y. 461; Matter of Roy Anthony A., 59 AD2d 662; Matter of Kenneth S., 52 AD2d 880). Clearly, appellant's due process rights have been violated and a new hearing must be held in order to give her an opportunity to be heard. At the new hearing, full opportunity for cross-examination of any witness who testifies must be provided.
